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15
                                  UNITED STATES DISTRICT COURT
16
                               NORTHERN DISTRICT OF CALIFORNIA
17

18
     SPRAWLDEF, a public benefit corporation,            Case No.: 18-cv-03918-YGR
19   CITIZENS FOR EAST SHORE PARKS, a
     public benefit corporation, JAMES                   RESPONDENTS’ MEMORANDUM OF
20   HANSON, TONY SUSTAK, PAUL                           POINTS AND AUTHORITIES IN
     CARMAN and PAMELA STELLO,                           SUPPORT OF MOTION TO DISMISS
21   individuals,                                        PETITIONERS’ PETITION FOR WRIT
                                                         OF MANDATE
22                          Petitioners,
                                                         Date: September 11, 2018
23          v.                                           Time: 2:00 p.m.
                                                         Place: Ronald V. Dellums Federal Building,
24   CITY OF RICHMOND, a California                             1301Clay Street, Oakland, CA
     municipality, MAYOR TOM BUTT and
25   RICHMOND CITY COUNCIL, in their                     Judge: Hon. Yvonne Gonzalez Rogers
     official capacities, and Does 1 to 10,
26   inclusive,

27                          Respondents.

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 1                       MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.     INTRODUCTION
 3          This case is a political dispute that does not belong in the courts. Four Richmond

 4   residents are displeased with this Court’s Judgment resolving the lengthy and contentious

 5   litigation related to Point Molate. But their difference in opinion does not warrant the Judgment’s

 6   dismantling. Rather, Petitioners should express their opinions through the City of Richmond’s

 7   administrative and legislative process that will consider any future development of Point Molate.

 8          The Court’s April 12, 2018 Judgment is the product of six years of litigation and nearly a

 9   decade of disputes over Point Molate. Following extensive motion practice and discovery, as

10   well as a dismissal on the pleadings and remand by the Ninth Circuit, the Court ordered the

11   parties to consider settlement. Chief Magistrate Judge Spero guided the parties through that

12   process. The Court’s and parties’ efforts to resolve the near-decade dispute must not be

13   undermined by a handful of individuals’ personal opinions about the litigation’s outcome.

14          Petitioners veil their political differences about what would be the best use of Point

15   Molate by alleging nonspecific violations of California’s Brown Act. They point to no authority

16   – nor could they – for the broad proposition that settlement conferences or confidential settlement

17   communications must be publicly held or announced in order to comply with the Brown Act. If

18   that were the law, settlements for public agencies would be nearly impossible and the courts

19   would be overrun with Brown Act litigation. No municipality could ever engage in confidential

20   settlement discussions and courts ordering settlement conferences or mediation would themselves

21   run afoul of the law.

22          For these reasons, the Brown Act contains an explicit litigation exemption that allows

23   closed sessions for conferences regarding pending litigation. Cal. Gov’t Code § 54956.9.

24   Petitioners concede this. (Case No. 12-cv-1326-YGR Docket (“Guidiville Dkt.”) 372 at 3-4

25   [“[T]he Council was allowed to exclude the public from [closed session meetings to discuss the

26   mediation and settlement] and keep confidential the contents of the discussions that occurred

27   therein. . . . [T]he Brown Act allows a legislative body to keep confidential and not disclose to the

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 1   public a proposed settlement of litigation until that settlement has received final court

 2   approval[.]”].)

 3            Petitioners’ sole legal argument is that the litigation exemption does not apply to

 4   settlements that would “bind[] the public entity to granting a final vested right” or legislative

 5   action. (Id.; Dkt. 1-1 (“Petition”) 1 ¶ 43.) Petitioners’ argument is unfounded and their writ of

 6   mandate must be denied for three reasons: (1) res judicata applies as this federal court has

 7   entered final Judgment in this case; (2) Petitioners fail to plead any communication or action in

 8   violation of the Brown Act – there has been none; and (3) Petitioners fail to plead a single

 9   “entitlement, finding, or resolution” by the City as a result of the Judgment – again, there have

10   been none – therefore there is no case or controversy for the Court to adjudicate.

11   II.      STATEMENT OF ISSUES TO BE DECIDED
12               1. Petitioners seek to invalidate a federal court judgment through a single Brown Act

13                     cause of action. May Petitioners overturn this Court’s final judgment by

14                     manufacturing a Brown Act claim?

15               2. It is a fundamental requirement of any lawsuit, including a petition for writ of

16                     mandate, that the complaint present a case or controversy and one that is ripe for

17                     adjudication. It is indisputable that there have been no entitlements or approvals

18                     under the Judgment, and Petitioners have not alleged any such entitlements or

19                     approvals. Given that there have been no entitlements or approvals regarding

20                     Point Molate, does the petition for writ of mandate present a case or controversy

21                     that is ripe for adjudication?

22               3. To state a claim under the Brown Act, Petitioners must allege more than

23                     conclusory allegations, legal characterizations, unreasonable inferences, or

24                     unwarranted fact deductions. Petitioners must allege a legislative body’s violation

25                     of a specific provision of the Brown Act, an action taken by the legislative body in

26
     1
27    Docket entries in The Guidiville Rancheria of California v. The United States of America action,
     Case No. CV-12-1326-YGR, are cited as “Guidiville Dkt.” and docket entries in the current
28   action, SPRAWLDEF, et al. v. City of Richmond, et al., are cited as “Dkt.”
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 1                  connection with the alleged violation, a timely demand of the legislative body to

 2                  cure or correct the action, and prejudice. Do Petitioners’ vague and conclusory

 3                  allegations adequately state a claim for relief under the Brown Act? Even if true,

 4                  as communications in the context of a mandatory settlement conference and

 5                  negotiations therefrom, do the alleged improper acts fall under the Brown Act’s

 6                  litigation exemption?

 7   III.   STATEMENT OF FACTS
 8          Point Molate consists of approximately 400 acres of upland and tidal property transferred

 9   from the United States Navy to the City of Richmond in 2003 and 2009. (Guidiville Dkt. 361

10   (“Judgment”) ¶ 4.) In 2004, the City, Upstream Point Molate LLC (Upstream) and Guidiville

11   Rancheria of California (Tribe) entered into a Land Disposition Agreement (LDA) related to

12   Point Molate. (Id. at 1.) The outcome of the LDA became the subject of years of protracted

13   disputes—over a decade—and six years of litigation. (Id.) Upstream and the Tribe filed a

14   lawsuit in this Court in 2012 alleging breach of contract, among other causes of action.

15   (Guidiville Dkt. 1.) The Court dismissed the case on the pleadings, and it was remanded in part

16   by the Ninth Circuit in 2017. (Guidivlle Dkt. 296 at 3.) Thereafter, discovery began in earnest.

17   Depositions occurred, with several more noticed and their scheduling under discussion.

18   (Declaration of Alexis Amezcua (“Amezcua Decl.”) ¶ 2.) The parties exchanged hundreds of

19   thousands of pages of documents. (Id.)

20          With dispositive motions on the horizon, the Court ordered the parties to a mandatory

21   settlement conference with Chief Magistrate Judge Spero. (Guidiville Dkt. 321.) On February 6,

22   2018, Judge Spero supervised a full day of arms-length negotiation. (Amezcua Decl. ¶ 3.) On

23   April 6, 2018, the parties submitted to Judge González Rogers a proposed judgment,

24   memorializing settlement of the claims between the Tribe, Upstream, and the City of Richmond.

25   (Id.) The settlement was not final at that stage, since entry of the judgment as it was submitted to

26   the Court was a material term of the settlement. (Id.) On April 12, 2018, the Court approved of

27   the Judgment without any changes. (Guidiville Dkt. 361.) That same day, the Judgment was

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 1   publicly announced, made available on the City’s website, and placed on the agenda for the next

 2   available City Council meeting on April 17, 2018. (Amezcua Decl. ¶ 4.)

 3           On April 17, the City Attorney, City Manager, and City Planner, along with outside

 4   counsel, presented the Judgment terms to the City of Richmond, and answered questions from

 5   Councilmembers and the public. (Amezcua Decl. ¶ 5.) The presentation to Councilmembers and

 6   the public included discussion of the various opportunities for public input, as contemplated by

 7   the Judgment, including selection of a master developer and establishment of community

 8   workshops. (Judgment ¶ 17.) Three of the four petitioners each spoke at the City Council

 9   meeting to express their disapproval of the Judgment. (Amezcua Decl. ¶ 5.)

10           Since that time, the City has issued a schedule for community meetings and tours of Point

11   Molate, through which the public is encouraged to learn more about the site and offer their input

12   as to its potential use. (Id. ¶ 6) The first City-sponsored tour of Point Molate occurred on June

13   23, 2018. (Id.) A website in English and Spanish has been established to seek community input

14   on how to use the land at Point Molate. (Id.) Community meetings and site tours are scheduled

15   for July 23 and 25, and August 18 and 27. (Id.) A land use vision for Point Molate will be

16   presented in these open and public meetings for potential recommendation by the Planning

17   Commission and adoption by the City Council. (Id.)

18           As this Court has expressly found and ordered, the Judgment is not an approval of a

19   development at Point Molate. (Judgment ¶ 37.) No entitlements or approvals have been taken

20   under consideration or granted for Point Molate at this time. (Id.; Amezcua Decl. ¶ 7.)

21   IV.     LEGAL STANDARD
22           A motion to dismiss should be granted where a party fails to state a claim upon which

23   relief can be granted. Fed. R. Civ. P. 12(b)(6). A pleading, including a petition for writ of

24   mandate, must set forth “a short and plain statement of the claim showing that the pleader is

25   entitled to relief.” Fed. R. Civ. P. 8(a)(2).

26           Rule 8 “does not unlock the doors of discovery for a plaintiff armed with nothing more

27   than conclusions.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A petition must make “a

28   ‘showing,’ rather than a blanket assertion, of entitlement to relief.” Bell Atlantic Corp. v.
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 1   Twombly, 550 U.S. 544, 555 n.3 (2007). Such a showing “demands more than an unadorned, the-

 2   defendant-unlawfully-harmed-me accusation.” Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S.

 3   at 555). If a plaintiff has not pled “enough facts to state a claim to relief that is plausible on its

 4   face” and thereby “nudged [his] claims . . . across the line from conceivable to plausible,” the

 5   complaint “must be dismissed.” Twombly, 550 U.S. at 570.

 6             Pleadings containing “no more than conclusions[] are not entitled to the assumption of

 7   truth.” Iqbal, 556 U.S. at 679. Only when there are “well-pleaded factual allegations” should a

 8   court “assume their veracity and then determine whether they plausibly give rise to an entitlement

 9   to relief.” Id. The “sheer possibility that a defendant has acted unlawfully” is not enough. Id. at

10   678 (citing Twombly, 550 U.S. at 556). “[A] complaint ‘that offers ‘labels and conclusions’ or a

11   ‘formulaic recitation of the elements of a cause of action will not do.’” In re Bidz.com, Inc.

12   Deriv. Litig., 773 F. Supp. 2d 844, 850 (C.D. Cal. 2011) (quoting Iqbal, 556 U.S. at 678). The

13   Court need not accept as true conclusory allegations, legal characterizations, unreasonable

14   inferences, or unwarranted fact deductions. See In re Bidz.com, 773 F. Supp. 2d at 850 (citing

15   Leatherman v. Tarrant Cty. Narcotics Intelligence & Coordination Unit, 507 U.S. 163, 164

16   (1993)); Oestreicher v. Alienware Corp., 544 F. Supp. 2d 964, 968 (N.D. Cal. 2008), aff’d, 322 F.

17   App’x 489 (9th Cir. 2009) (citing Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir.

18   2001)).

19             The Court may consider documents to which Petitioners refer and rely on in a pleading in

20   ruling on a motion to dismiss, as well as documents that are integral to Petitioners’ claims and

21   allegations. Pierce v. Cantil-Sakauye, No. C 13-01295 JSW, 2013 U.S. Dist. LEXIS 114406, at

22   *6 (N.D. Cal. Aug. 13, 2013); Knievel v. ESPN, 393 F.3d 1068, 1076 (9th Cir. 2005). The Court

23   should disregard allegations that contradict documents incorporated by reference or judicially

24   noticed facts. See, e.g., Seven Arts Filmed Entm’t, Ltd. v. Content Media Corp. PLC, 733 F.3d

25   1251, 1254 (9th Cir. 2013).

26   V.        ARGUMENT
27             The petition should be dismissed with prejudice for three independent reasons.

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 1          First, petitioners’ attempt to challenge the Court’s final Judgment is barred by principles

 2   of res judicata which bar re-opening the decade-long dispute that has been adjudicated by the

 3   Judgment.

 4          Second, Petitioners have no standing as there is no existing case or controversy; nor is

 5   there a claim ripe for adjudication. Petitioners have the burden of proving standing and ripeness.

 6   They have failed to do so, and there is no way to amend the petition to sufficiently allege standing

 7   or ripeness as there have been no entitlements or approvals regarding Point Molate to date.

 8          Finally, Petitioners have failed to allege facts sufficient to state a claim for relief under the

 9   Brown Act. Under the Brown Act, petitioners must allege a legislative body’s violation of one or

10   more of the Brown Act statutes, an action taken by the legislative body in connection with the

11   alleged violation, a timely demand of the legislative body to cure or correct the action, and

12   prejudice. In this matter, petitioners have failed to allege facts sufficient under every one of these

13   elements: there has been no violation as the Brown Act expressly exempts settlement of litigation

14   from public hearing requirements, there has as of yet been no entitlement or approval related to

15   Point Molate that would constitute an action by the City, and Petitioners have alleged no

16   prejudice, nor could they.

17          A.      Petitioners May Not Invalidate the Court’s Final Judgment

18          While they have couched their requests for relief in terms of voiding entitlements and

19   precluding approvals, in reality petitioners seek to overturn this Court’s Judgment. Petitioners

20   admit as much in their papers filed in this Court. (Guidiville Dkt. 372, Administrative Motion for

21   Leave to File a Motion to Intervene (“Admin. Motion”) at 5 [“If the California court finds that the

22   Brown Act was violated, Moving Parties will seek to vacate the Court’s judgment.”].)

23          This Court’s final Judgment cannot be overturned based on the political disagreement of a

24   few citizens. A final judgment “ends the litigation on the merits and leaves nothing for the court

25   to do but execute the judgment.” Riley v. Kennedy, 553 U.S. 406, 419 (2008) (quoting Catlin v.

26   United States, 324 U.S. 229, 233 (1945).) By entering a final judgment, a federal court disposes

27   of a cause in its entirety. See Catlin, 324 U.S. at 243. By precluding parties from seeking further

28   and repeated adjudication of matters that have been already been resolved, courts preserve the
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 1   sanctity of judgments, protect litigants from unwarranted re-litigation, and preserve judicial

 2   resources. Allen v. McCurry, 449 U.S. 90, 94 (1980). Petitioners’ attempt in this case to reopen

 3   the Judgment and insert themselves, again, 2 into the long dispute over Point Molate is precisely

 4   the sort of action that should be foreclosed. 3

 5            Petitioners do not cite any case invalidating a judgment approving of a settlement with a

 6   municipality. The single case the City has found that addresses a similar factual scenario upheld

 7   the court’s judgment and denied petitioners’ requests to set aside and vacate approvals associated

 8   with the project at issue.

 9            In Travers v. City of Morro Bay, a group of citizens sought to prohibit the City of Morro

10   Bay from issuing development permits to a company as required by a Court-approved settlement

11   agreement. Travers v. City of Morro Bay, No. 2:08-cv-06822-FMC-MANx, 2008 WL 11338126

12   (C.D. Cal. Dec. 2, 2008). The citizens sought declaratory, injunctive, and mandamus relief to,

13   among other things, set aside Morro Bay’s actions in approving certain permits that were alleged

14   to be in violation of the Brown Act. Travers, at *2. Morro Bay filed a motion to dismiss for

15   failure to state a claim. The court granted the motion and dismissed the claims with prejudice,

16   explaining that the remedies sought in the citizens’ petition would require the vacature of the

17   court’s order in approving the settlement, and Morro Bay had no authority to vacate such an

18   order:

19
                     “The remedies Plaintiffs seek for the various violations alleged in
20                   the [petition] would require the vacature or setting aside of the
                     Court’s valid June 30, 2008 Order in the Sprint PCS Assets suit.
21
     2
       Petitioners Citizens for East Shore Parks (CESP) filed an action seeking to invalidate the land
22
     disposition agreement between the City and Upstream in 2004. (Citizens for the Eastshore State
23   Park v. City of Richmond, et al., Contra Costa Super. Ct. Case No. N04-1657, First Amended
     Verified Petition for Writ of Mandate (Dec. 22, 2004); Dkt. 1-1, Petition ¶ 4.) That action was
24   settled in 2006. (Petition ¶¶ 4, 22-23.)
     3
       Petitioners’ intent here is to intervene in the litigation. As this Court has already found,
25   Petitioners have not shown they have standing for such an extraordinary demand. (Dkt. 380.)
26   Post-judgment intervention by a non-party is generally forbidden. U. S. v. Blue Chip Stamp Co.,
     272 F. Supp. 432, 435-437 (C.D. Cal. 1967), aff'd sub nom. Thrifty Shoppers Scrip Co v. U. S.,
27   389 U.S. 580 (1968). A court will not re-open a judgment unless in the most unusual
     circumstances and never without the moving party demonstrating a “strong showing” that
28   intervention is necessary to preserve a right which cannot otherwise be protected. Id. at 435.
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 1                   . . . That Order became final, and this suit is not an appropriate
                     procedural mechanism to challenge its finality or validity.
 2                   Accordingly, Plaintiffs cannot prove any set of facts that would
                     entitle them to the relief they seek.”
 3

 4   Travers, 2008 WL 11338126, at *3.

 5           The Judgment regarding Point Molate does not issue any development permits, but, as in

 6   Travers, Petitioners here disapprove of the City’s settlement and seek to vacate the Judgment by

 7   alleging violations of the Brown Act. Likewise, the Judgment became final upon its entry and

 8   neither petitioners nor the City have the power or authority to vacate it. Further, vacating the

 9   Judgment and sending the dispute back to litigation, and requiring additional public process

10   “would accomplish nothing more than opening up for public debate” the issue of whether the City

11   should comply with the terms of a federal Court judgment. Brehmer v. Planning Bd. of Town of

12   Wellfleet, 238 F.3d 117, 122 (1st Cir. 2001).

13           As in Travers, this Court must deny Petitioners’ request to re-open the Court’s final

14   adjudication of this litigation.

15
             B.      There Is No Case or Controversy for the Court to Adjudicate
16

17           Beyond their inability to up-end a federal court judgment, petitioners also lack standing.

18   It is a fundamental requirement of any lawsuit, including a petition for writ of mandate, that the

19   complaint present a case or controversy ripe for adjudication. U.S. Const. art. III, § 2. In order

20   for the Court to adjudicate Petitioners’ claims, Petitioners must establish standing: “standing is an

21   essential and unchanging part of the case-or-controversy requirement of Article III.” See Lujan v.

22   Defenders of Wildlife, 504 U.S. 555, 560 (1992). Petitioners bear the burden of proving this

23   threshold standing requirement (Marino v. Countrywide Fin. Corp., 26 F. Supp. 3d 955, 959

24   (C.D. Cal. 2014) (citing Cetacean Cmty. v. Bush, 386 F.3d 1169, 1174 (9th Cir. 2004)), and they

25   fail to do so. To show that Petitioners have standing, Petitioners must establish: “(1) injury in

26   fact, (2) causation, and (3) redressability.” Id. at 960 (citing Lujan, 504 U.S. at 560).

27           Article III’s limitations on judicial power also require that Petitioners establish ripeness by

28   showing that the “harm asserted has matured sufficiently to warrant judicial intervention.” See
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 1   Warth v. Seldin, 422 U.S. 490, 499, n.10 (1975). When determining whether the facts of a

 2   particular case are ripe for adjudication, courts evaluate “[1] the fitness of the issues for judicial

 3   decision and [2] the hardship to the parties of withholding court consideration.” Devia v. Nuclear

 4   Regulatory Comm'n, 492 F.3d 421, 424 (D.C. Cir. 2007) (quoting Abbott Labs. v. Gardner, 387

 5   U.S. 136, 149 (1967)). The ripeness requirement’s “basic rationale is to prevent the courts,

 6   through avoidance of premature adjudication, from entangling themselves in abstract

 7   disagreements over administrative policies . . .” Id. (quoting Abbott Labs. 387 U.S. at 148-49.).

 8           Petitioners fail to establish both standing and ripeness, as Petitioners have neither been

 9   injured nor is there any harm that warrants judicial intervention. Apart from vague, conclusory

10   allegations related to “undisclosed” meetings where the City approved of the settlement, the

11   petition alleges no injury in fact and seeks only forward-looking, premature relief from the Court

12   to:

13
                     [S]et aside and void any approvals, entitlements, findings or
14                   resolutions related to the City’s action approving the closed-door
                     settlement of the Guidiville litigation . . .
15
                     [O]rder compliance with the Brown Act prior to further
16                   consideration of any related approvals . . .
17                   [P]reclud[e] Respondents from approving land use, development
                     agreement, land disposition agreement, sales or other transactions
18                   of land at Point Molate unless done in compliance with the Brown
                     Act . . .
19
                     [R]equir[e] Respondents to tape record their closed sessions
20                   concerning any Point Molate-related litigation, settlement or
                     decision.
21

22   (Petition at Prayer ¶¶ 1-3.)
23           There have been no entitlements or approvals under the Judgment to date. (Amezcua

24   Decl. ¶ 7.) And, importantly, the Judgment already requires compliance with federal, state, and

25   local laws, including the Brown Act, for any development at Point Molate. In fact, the Court was

26   explicit that the Judgment does not approve any project, and that the Parties should assert this fact

27   to bar future lawsuits, like this one:

28
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 1                    The Parties acknowledge, and the Court expressly finds and orders,
                      that this Judgment is not an approval of a project, and the City is
 2                    responsible for compliance with all federal, state and local laws,
                      regulations, and permits, relating to the Property, including
 3                    compliance with CEQA. This finding and order may be asserted by
                      the Parties as a bar to any suit challenging the validity of this
 4                    Judgment.

 5   (Judgment ¶ 37.)

 6             Moreover, without any pending case or controversy, the petition amounts to a request

 7   from the Court that would direct the City to follow established law, which is insufficient to

 8   establish standing. Arizonans for Official English v. Arizona, 520 U.S. 43, 64 (1997) (“An

 9   interest shared generally with the public at large in the proper application of the Constitution and

10   laws will not do.”). Petitioners thus lack standing, and their petition fails for this additional

11   reason.

12             C.     No Facts Alleged Entitle Petitioners to Relief

13             Even if the Court were to entertain Petitioners’ claims, it is apparent from the pleading

14   that there are no facts alleged sufficient to sustain the single Brown Act cause of action.

15             “To state a cause of action [under the Brown Act], a complaint based on [Government

16   Code section] 54960.1 must allege: (1) that a legislative body of a local agency violated one or

17   more enumerated Brown Act statutes; (2) that there was “action taken” by the local legislative

18   body in connection with the violation; and (3) that before commencing the action, plaintiff made

19   a timely demand of the legislative body to cure or correct the action alleged to have been taken in

20   violation of the enumerated statutes, and the legislative body did not cure or correct the

21   challenged action.” Boyle v. City of Redondo Beach, 70 Cal. App. 4th 1109, 1116–117 (1999).

22   Additionally, “[e]ven where a plaintiff has satisfied the threshold procedural requirements to set

23   aside an agency’s decision, Brown Act violations will not necessarily invalidate a decision.

24   [Petitioners] must show prejudice.” San Lorenzo Valley Cmty. Advocates for Responsible Educ.

25   v. San Lorenzo Valley Unified Sch. Dist., 139 Cal. App. 4th 1356, 1410 (2006); Galbiso v. Orosi

26   Pub. Util. Dist., 182 Cal. App. 4th 652, 670-71 (2010); North Pacifica LLC v. Cal. Coastal

27   Comm’n, 166 Cal. App. 4th 1416, 1433-434 (2008) (decided under “identical” provision of the

28   Bagley-Keene Act). A plaintiff cannot establish prejudice simply by alleging that he or she was
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 1   unable to participate in a meeting. See Cohan v. City of Thousand Oaks, 30 Cal. App. 4th 547,

 2   555-56 (1994). Rather, the plaintiff must demonstrate that his or her attendance at a meeting

 3   would have affected the complained of result in some fashion. Id.

 4                   1.      The Judgment Directly Contradicts Petitioners’ Claims

 5           Petitioners bring their claims pursuant to section 54960.1 of the Brown Act. 4 (Petition at

 6   1 [identifying Brown Act, Gov’t Code § 54960.1 as the grounds for the petition for writ of

 7   mandate].) That section of the Brown Act sets forth the process by which a mandamus claim may

 8   be brought seeking a judicial determination that a past action by a legislative body should be

 9   rendered null and void. Cal. Gov’t Code § 54960.1(a). Yet Petitioners have not alleged any past

10   actions by the City that violate the Brown Act.

11           Petitioners concede that the City was within its rights to discuss settlement confidentially

12   in closed session. (Admin. Motion at 3 [“Under provisions of the [Brown Act], and specifically

13   Gov. Code §54956.9, the “litigation exception,” the Council was allowed to exclude the public

14   from those closed sessions and keep confidential the contents of the discussions that occurred

15   therein.”].) They also concede that a legislative body such as the City is within its rights to keep a

16   settlement confidential until that settlement has received final court approval. (Id. at 3-4 [“the

17   Brown Act allows a legislative body to keep confidential and not disclose to the public a

18   proposed settlement of litigation until that settlement has received final court approval”].) The

19   only apparent argument raised to reverse the Court’s Judgment is that the City cannot, without

20   knowledge and participation of the public, commit to “granting a final vested right” or “approving

21   legislative action that requires a public hearing.” (Id. at 4.)

22           Petitioners vaguely allege that the City has “reached land use decisions which require

23   open meeting discretionary approvals under California law” but point to only one apparent

24   example: an alleged “guarantee” in the Judgment of a minimum amount of residential

25
     4
26     Petitioners do not bring their action under section 54960, which allows for mandamus claims
     concerning future actions for the purpose of “stopping or preventing violations or threatened
27   violations” of the Brown Act. Therefore, in addition to lacking standing for such requests,
     Petitioners’ prayers for relief concerning future acts by the City are improper and should be
28   stricken.
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 1   development. (Petition ¶ 44.) Petitioners have failed to allege with any specificity why this

 2   would constitute a “final vested right” or “legislative action” committed by the City in violation

 3   of the Brown Act. Petitioners cannot allege any such facts because the Judgment clearly does not

 4   confer a final vested right or commit the City to a legislative action. On the contrary, Paragraph

 5   37 provides:

 6
                    The Parties acknowledge, and the Court expressly finds and orders,
 7                  that this Judgment is not an approval of a project, and the City is
                    responsible for compliance with all federal, state and local laws,
 8                  regulations, and permits, relating to the Property, including
                    compliance with CEQA. This finding and order may be asserted
 9                  by the Parties as a bar to any suit challenging the validity of this
                    Judgment.
10

11   (Judgment ¶ 37 (emphasis added).)
12          Further, the Judgment expressly contemplates that City actions considering any

13   development of Point Molate shall be in full view of the public and with opportunity for public

14   hearing:

15
                    The Court anticipates and expects that City will receive and
16                  consider input from the public with respect to the future
                    development of Point Molate. Nothing herein shall prohibit or limit
17                  the City from holding public workshops or receiving any other
                    public input with respect to any future development considered by
18                  City pursuant to this Judgment, including selection of a master
                    developer or developers.
19

20   (Judgment ¶ 17.)
21          These express statements in the Judgment directly contradict the vague allegations in the

22   Petition. The Judgment contemplates a process by which the City will consider discretionary

23   approvals for a development of Point Molate over the course of a two-year period. (Judgment

24   ¶ 16.) The Judgment makes clear that all future development of Point Molate, including those

25   approvals, will be conducted in view of and with input from the public. (Judgment ¶ 17.) But as

26   set forth above, the Judgment does not guarantee or approve a development or provide any

27   developer with any entitlements. (Judgment ¶ 37.) Petitioners’ vague suggestions to the contrary

28   are belied by the very Judgment they seek to overturn. The Court should disregard Petitioners’
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 1   allegations as contradicted by the Court’s own Judgment. See, e.g., Seven Arts, 733 F.3d at 1254

 2   (disregarding allegations that contradict documents incorporated by reference or judicially

 3   noticed facts).

 4
                       2.     Petitioners’ Conclusory Allegations Are Not Sufficient to Sustain a
 5                            Cause of Action
 6          Petitioners lob numerous rhetorical accusations at the City in their petition, yet there are

 7   no specific facts pled that could sustain a Brown Act cause of action. Petitioners’ various

 8   accusations are precisely the sort of vague and conclusory statements that do not rise to the level

 9   of well-pleaded allegations:

10               •     “unannounced serial meeting and in closed session” (Petition ¶ 1)

11               •     “adopting, in closed session, a pre-determined plan as part of a closed-door

12                     settlement of the Upstream lawsuit, attempting to bypass the required zoning and

13                     planning and public participation required under the law” (Petition ¶ 29)

14               •     “unannounced court-mediated settlement conferences” and “unannounced serial

15                     communications and consultations” (Petition ¶ 30)

16               •     “Petitioner also is informed and believes, and thereon alleges, that the Mayor and

17                     members of the City Council used direct communications and personal

18                     intermediaries, including principals, agents or representatives of Upstream Point

19                     Molate, to develop a collective concurrence as to action to be taken on the

20                     challenged actions, including communications between the Mayor and members

21                     of the City Council, and between members of the Council to other members.”

22                     (Petition ¶ 46)

23          These statements do not set forth specific facts; they are vague references to settlement

24   discussions, which petitioners have conceded are perfectly appropriate under the Brown Act, and

25   conclusory statements about unspecified “communications,” “collective concurrence,” and

26   “challenged actions,” from which it is difficult to ascertain what Petitioners are referring to.

27
28
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 1   (Admin. Motion at 3-4.) 5 Nonetheless, the Court need not assume the truth of such conclusory

 2   allegations. Iqbal, supra556 U.S. at 679.

 3          Further, petitioners have failed to allege any prejudice as required to sustain a Brown Act

 4   claim. San Lorenzo Valley Community Advocates for Responsible Education, supra, 139

 5   Cal.App.4th at 1410 (2006). Simply alleging a violation of the Brown Act, without some

 6   resulting prejudice, is insufficient. See Cohan, supra, 30 Cal.App.4th at 555-56. Indeed, even if

 7   petitioners were granted what they request—public input on the settlement (an opportunity of

 8   which they have already availed themselves (Amezcua Decl. ¶ 3)—it would not change the

 9   outcome of this Judgment. The City has no authority to disregard a federal Court Judgment.

10   Travers, 2008 WL 11338126, at *3 (“Once [the court’s] Order was entered, Defendants had

11   no power or authority to to vacate it” [sic].). A public hearing would not change that fact.

12                  3.      The Brown Act Expressly Provides for the Authority to Discuss and
                            Settle Legal Disputes in Closed Session
13

14          In any event, the Brown Act expressly provides the City with the authority to discuss its

15   legal disputes in closed session, to determine legal strategy, and to settle disputes in closed

16   session:

17
                    Nothing in this chapter shall be construed to prevent a legislative
18                  body of a local agency, based on advice of its legal counsel, from
                    holding a closed session to confer with, or receive advice from, its
19                  legal counsel regarding pending litigation when discussion in open
                    session concerning those matters would prejudice the position of
20                  the local agency in the litigation.
21   Cal. Gov’t Code § 54956.9(a). Courts have held that the litigation exemption permits approval of

22   a settlement in closed session. See Southern Cal. Edison Co. v. Peevey, 31 Cal.4th 781,798–99

23   (2003) [discussing 75 Ops. Cal. Atty. Gen. 14 (1992), which so opined]; cf. id. at pp. 800–01

24   [open meeting law for state agencies]; Cal. Gov’t Code § 54957.1 (a)(3) [reporting of “Approval

25
     5
26     Further, the Brown Act applies only to “meetings” of local legislative bodies. Cal. Gov’t Code
     §§ 54950-63. The Brown Act defines a “meeting” as a congregation of a majority of the
27   members of a legislative body at the same time and location. Id. at § 54952.2. Petitioners have
     failed to, and cannot, allege that any communications between the parties included a majority of
28   City Council and therefore constituted a “meeting” under the Brown Act.
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 1   given to [legislative body's] legal counsel of a settlement of pending litigation . . . ”]. Petitioners

 2   themselves acknowledge that public agencies are within their rights to exclude the public from

 3   closed sessions to discuss settlement and to keep settlements confidential until receiving final

 4   court approval. (Admin. Motion at 3-4 [“the Brown Act allows a legislative body to keep

 5   confidential and not disclose to the public a proposed settlement of litigation until that settlement

 6   has received final court approval”].)

 7          Petitioners cite to Trancas Property Owners Association v. City of Malibu, 138 Cal. App.

 8   4th 172 (2006) to argue that the litigation exemption does not apply to the settlement discussions

 9   in this case. Trancas does not help Petitioners. First, the Trancas court acknowledged that public

10   bodies may discuss settlement and agree to terms in closed session. 138 Cal. App. 4th at 187.

11   Second, in Trancas, the City of Malibu “extended guarantees that Trancas’s proposed

12   development would not be blocked by future zoning, or be required to comply with zoning

13   density restrictions of whatever age.” Id. at 179. Those “absolute commitments” “provide[d]

14   Trancas a red carpet around” the City’s zoning and density requirements. Id. at 182-83.

15          This stands in stark contrast to the Judgment in this case. The Court’s Judgment does not

16   grant any entitlements or approvals. The City has agreed to no “absolute commitment” to

17   exceptions around laws and regulations. Rather, the Judgment sets forth a schedule for

18   consideration of future development approvals that are to be heard and weighed in on by the

19   public, and must be in full compliance with all applicable laws and regulations. (Judgment ¶¶ 17,

20   37.) Moreover, the suggestion that the parties’ settlement negotiations were “used as a

21   subterfuge” (as was the concern in Trancas) is belied by the fact that the negotiations were

22   overseen by Judge Spero and that the actual terms of the settlement, which do not include any

23   policy determinations, were approved by the Court. (Amezcua Decl. ¶ 3.) The Brown Act’s

24   litigation exemption provides for precisely the action taken by the City in this case to resolve the

25   Guidiville litigation. Petitioners have failed to allege any law or facts to the contrary. 6

26   6
       Petitioners further fail to allege facts sufficient to show that a Brown Act violation, if one were
27   to exist, would require nullification of the Judgment. In San Diegans for Open Government v.
     City of Oceanside, 4 Cal. App. 5th 637 (2016), the California Court of Appeal recognized “that an
28   agency fulfills its agenda obligations under the [Brown Act] so long as it substantially complies
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 1                  4.       The Brown Act Prohibits Overturning Actions That Create
                             Contractual Obligations
 2

 3          Finally, the Brown Act provides for exceptions to its enforcement provision where an

 4   action complained of has given rise to a contractual obligation upon which a party has

 5   detrimentally relied:

 6
                    An action taken that is alleged to have been taken in violation of
 7                  [the Act pursuant to the enforcement provision of Section 65960.1]
                    shall not be determined to be null and void if any of the following
 8                  conditions exist: … The action taken gave rise to a contractual
                    obligation, including a contract let by competitive bid other than
 9                  compensation for services in the form of salary or fees for
                    professional services, upon which a party has, in good faith and
10                  without notice of a challenge to the validity of the action,
                    detrimentally relied.
11

12   Cal. Gov’t Code § 54960.1(d)(3).

13          The City, in full reliance on the validity of a federal Court judgment, has begun in earnest

14   the robust public process contemplated by the Judgment. Community land use visioning,

15   including City-sponsored fieldtrips to Point Molate and workshops discussing the opportunities at

16   Point Molate, are under way. (Amezcua Decl. ¶ 6.) The City recently hired a consultant to assist

17   with the planning process. (Id.) Reversal of the Judgment at this point would cause all involved,

18   including the citizens of Richmond, undue harm.

19   VI.    CONCLUSION

20          For the foregoing reasons, the Court should dismiss the petition with prejudice.

21

22

23

24

25

26
     with statutory requirements.” Id. at 642-43 (emphasis added). See also, Cal. Gov’t Code
27   § 54960.1(d)(1) (Violative actions shall not be determined to be null and void if the action was
     taken in substantial compliance with the Act.) Petitioners have not pled any facts sufficient to
28   show how the City’s conduct failed to substantially comply.
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 1   Dated:     July 20, 2018                      ARTURO J. GONZÁLEZ
                                                   ALEXIS A. AMEZCUA
 2                                                 ALEJANDRO L. BRAS
                                                   MORRISON & FOERSTER LLP
 3

 4
                                                   By:     /s/ Arturo J. González
 5                                                        Arturo J. González
 6                                                 Attorneys for Respondents
                                                   THE CITY OF RICHMOND, MAYOR TOM
 7                                                 BUTT, and RICHMOND CITY COUNCIL
 8

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 1                                    CERTIFICATE OF SERVICE

 2          I hereby certify that on July 20, 2018, a copy of the foregoing document was filed

 3   electronically with the Clerk of the Court using the Court’s CM/ECF electronic filing system,

 4   which will send an electronic copy of this filing to all counsel of record.

 5

 6
                                                   /s/ Arturo J. González
 7                                                 Arturo J. González
                                                   AGonzalez@mofo.com
 8

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